     Case 2:21-cv-06376-JAK-PVC Document 28 Filed 08/15/22 Page 1 of 2 Page ID #:440




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6     Autovest, L.L.C.
7
                                 UNITED STATES DISTRICT COURT
8
                                CENTRAL DISTRICT OF CALIFORNIA
9

10    CHINONSO OHUCHE, on behalf of himself     CASE NO.: 2:21-cv-06376-JAK-PVC
      and members of the general public,
11
                                                NOTICE OF CHANGE OF ADDRESS OF
12                Plaintiff,                    DEFENDANT AUTOVEST, L.L.C.'S
                                                COUNSEL R. TRAVIS CAMPBELL
13                vs.
14
      AUTOVEST, L.L.C., a Michigan limited
15    liability company; PATRICK K. WILLIS
      COMPANY, INC. dba AMERICAN
16    RECOVERY SERVICE, a California
      corporation; COASTLINE RECOVERY
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      SERVICES, INC., a California
18    corporation; and DOES 1 through 10,
      inclusive,
19                 Defendants.
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      OHUCHE v. AUTOVEST, L.L.C., et al          (CASE NO. 2:21-CV-06376-JAK-PVC)
      NOTICE OF CHANGE OF ADDRESS
     Case 2:21-cv-06376-JAK-PVC Document 28 Filed 08/15/22 Page 2 of 2 Page ID #:441




1          PLEASE TAKE NOTICE that effective August 1, 2022, the mailing address for R.
2     Travis Campbell, counsel of record for Defendant Autovest, L.L.C, has changed. The
3     new address is as follows:
4
      R.Travis Campbell
5
      Simmonds & Narita LLP
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      Suite 1500
7     San Francisco, CA 94111
8
      All other contact information, including telephone numbers and emails remains the same.
9

10    DATED: August 12, 2022                      SIMMONDS & NARITA LLP
11
                                                 R. TRAVIS CAMPBELL

12

13                                               By:
                                                       R. Travis Campbell
14                                                     Attorneys for Defendant
                                                       Autovest, LLC
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      OHUCHE v. AUTOVEST, L.L.C., et al          (CASE NO. 2:21-CV-06376-JAK-PVC)               1
      NOTICE OF CHANGE OF ADDRESS
